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 7                               UNITED STATES DISTRICT COURT
 8                              CENTRAL DISTRICT OF CALIFORNIA
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 10         CHRIS HASHEM, et al.,                       Case No.: CV 20-2303 CBM (MAAx)
 11               Plaintiffs,
                                                        ORDER RE: DEFENDANT B.R.
 12         vs.                                         SHETTY’S MOTION TO DISMISS
                                                        [DKT. 70]
 13         NMC HEALTH PLC, et al.,
 14               Defendants.
 15
 16               The matter before the Court is Defendant B.R. Shetty’s Motion to Dismiss
 17     pursuant to Rule 12(b)(6) and Request for Judicial Notice. (Dkt. 70, 70-6.)
 18                                       I. BACKGROUND
 19               Defendant NMC Health PLC (“NMC”) 1 is a foreign corporation
 20     incorporated in England and Wales. (First Amended Complaint (“FAC”) ¶ 11.)
 21     Defendant B.R. Shetty founded NMC and served as NMC’s CEO and Executive
 22     Vice Chairman until March 2017 and served as NMC’s Non-Executive Joint
 23     Chairman of the Board from March 2017 until February 2020. (FAC ¶ 14.) NMC
 24     is purported to own and manage approximately 200 healthcare facilities
 25     throughout the United Arab Emirates, the United Kingdom, Spain, and
 26     internationally. (FAC ¶ 10.)
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          Claims against Defendant NMC are stayed due to its bankruptcy and Plaintiffs do not expect
        any recovery to be possible.
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 1             Plaintiffs allege that on December 17, 2019, Muddy Waters Capital LLC
 2      (“Muddy Waters”) published a Report stating that NMC had misled investors and
 3      failed to disclose: (i) its lack of internal controls; (ii) (de facto) related party
 4      transactions; (iii) its true debt burden; (iv) its true cash-on-hand and asset values;
 5      and (v) its use of reverse factoring. (FAC ¶ 70.) Plaintiffs assert the follow causes
 6      of action against Defendant Shetty: 1) section 10(b) of the Exchange Act and Rule
 7      10b-5 promulgated thereunder by committing securities fraud and 2) section 20(a)
 8      of the Exchange Act.
 9                                       II. JURISDICTION
 10            The Court has jurisdiction over this action pursuant to the Securities
 11     Exchange Act of 1934, 15 U.S.C. § 78(a).
 12                                  III. LEGAL STANDARD
 13            To survive a motion to dismiss, a complaint must “contain sufficient factual
 14     matter, accepted as true, to ‘state a claim to relief that is plausible on its face.”
 15     Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,
 16     550 U.S. 544, 570 (2007)). This requirement is satisfied when “the plaintiff pleads
 17     factual content that allows the court to draw the reasonable inference that the
 18     defendant is liable for the misconduct alleged.” Id. “In alleging fraud or mistake,
 19     a party must state with particularity the circumstances constituting fraud or
 20     mistake.” Fed. R. Civ. P. 9(b). When considering motions to dismiss, courts
 21     accept all facts alleged in the complaint as true, construe the pleadings in the light
 22     most favorable to the nonmoving party, and draws all reasonable inferences in
 23     favor of the plaintiff. Ass’n for Los Angeles Deputy Sheriffs v. Cnty of Los
 24     Angeles, 648 F.3d 986, 991 (9th Cir. 2011).
 25                                       IV. DISCUSSION
 26     A.     Request for Judicial Notice and Incorporation by Reference
 27            Defendant requests that the Court take judicial notice of and consider the
 28     following documents as incorporated by reference to the Complaint:

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 1
              1) Muddy Waters Capital LLC’s Report on NMC Health PLC;
 2            2) Citibank, N.A.’s Form F-6 for NMC filed with the Securities and
 3            Exchange Commission on May 31, 2015;
              3) Deutsche Bank Trust Company Americas’ Form F-6 for NMC filed
 4            with the SEC on April 6, 2015;
 5            4) NMC Health Plc Annual Report & Accounts 2015 dated March 13,
              2016; and
 6            5) NMC Health Plc Annual Report & Accounts 2017 dated March 6,
 7            2018.

 8      (Dkt. 70-6.)
 9            The second request asks this Court to take judicial notice of the
 10     following documents:
 11
 12           6) NMC Health Plc Annual Report & Accounts 2018 dated March 6,
              2019
 13           7) Second Amended and Consolidated Class Action Complaint for
 14           Violation of the Securities Laws of the United States and Japan filed
              in Mark Stoyas et al. v. Automotive Industries Pension Trust Fund,
 15           Case No. 2:15-cv-04194-DDP (C.D. Cal.) (Dkt. 75) (“Toshiba II
 16           Complaint”)
              8) NMC Health Plc Annual Report & Accounts 2014 dated February
 17           23, 2015.
 18
 19     (Dkt. 82.)

 20           Generally, a district court may not consider material outside the pleadings

 21     when assessing the sufficiency of a complaint under Fed. R. Civ. P. 12(b)(6).

 22     Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 998 (9th Cir. 2018). However,

 23     there are two exceptions to this rule: “the incorporation-by-reference doctrine, and

 24     judicial notice under Federal Rule of Evidence 201.” Id. Courts have “extended

 25     the doctrine of incorporation by reference to consider documents in situations

 26     where the complaint necessarily relies upon a document or the contents of the

 27     document are alleged in the complaint.” Coto Settlement v. Eisenberg, 593 F.3d

 28     1031, 1038 (9th Cir. 2010).

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 1            Here, the Muddy Waters Capital LLC Report on NMC Health PLC is
 2      referenced in paragraph 54 of the FAC, which includes a block quote from page 4
 3      of the Muddy Waters Reports. ( FAC ¶¶ 54, 64–72). Additionally, the Citibank
 4      Form F-6 and the Deutsche Bank Trust Company Americas’ Form F-6 are
 5      referenced in the FAC. (FAC ¶ 5 “NMC’s ADSs traded in the United States on the
 6      OTC Pink, an American trading venue operated by OTC Markets, Inc., an
 7      American company, under the ticker symbol ‘NMHLY.’”) Exhibit 4, the NMC
 8      Health Plc Annual Report & Accounts 2015, and Exhibit 5, the NMC Health Plc
 9      Annual Report & Accounts 2017, are both referenced and extensively quoted in
 10     the FAC. (FAC ¶¶ 26–36; FAC ¶¶ 46–54.)
 11           Additionally, Plaintiffs’ FAC quotes Exhibit 6, the NMC Health PLC
 12     Annual Report and relies on the Report as the basis for alleged false and
 13     misleading statements issued during the class period. (FAC ¶¶ 55 –64.) Plaintiffs’
 14     FAC also quotes and relies on Exhibit 8, the NMC Health PLC Annual Report &
 15     Accounts 2014. (FAC ¶ 71.) Lastly, Exhibit 7, the Toshiba II Complaint, is a
 16     court filing and matter of public record, so the Court may take judicial notice of
 17     such document. Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6
 18     (9th Cir. 2006) (noting that a “court may take judicial notice of court filings and
 19     other matters of public record.”).
 20           Accordingly, the Court grants Defendant’s request to incorporate Exhibits 1
 21     through 6 and 8 by reference and grants Defendant’s request to take judicial notice
 22     of Exhibit 7.
 23     B.    Motion to Dismiss
 24           1. Domestic Transaction
 25           Defendant argues Plaintiff failed to allege that the securities transaction
 26     occurred on a domestic exchange. The Court finds that Plaintiffs alleged facts
 27     plausibly infer that the purchaser, Plaintiffs, incurred irrevocable liability within
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 1      the United States and thus, sufficiently alleged facts that indicate the securities
 2      transaction occurred on a domestic exchange.
 3               2. First Cause of Action: Violations of Section 10(b) and Rule 10b-5
 4               Promulgated Thereunder
 5               To state a claim for securities fraud under Rule 10b-5, a plaintiff must plead
 6      the following elements: (1) a material misrepresentation or omission of fact; (2)
 7      scienter; (3) reliance; (4) economic loss; and (5) loss causation. See Dura Pharm.,
 8      Inc. v. Broudo, 544 U.S. 336, 341-42 (2005).
 9               The Court finds that Plaintiffs have sufficiently alleged a material
 10     misrepresentation or omission of fact, scienter, economic loss and causation.
 11                      a. Third Element: Reliance2
 12              Reliance by Plaintiffs upon the misrepresentations or omissions is an
 13     essential element of the Section 10(b) action as it “ensures that, for liability to
 14     arise, the ‘requisite causal connection between a defendant’s misrepresentation
 15     and a plaintiff’s injury’ exists as a predicate for liability.” Stoneridge Inv.
 16     Partners, LLC v. Scientific-Atlanta, 552 U.S. 148, 159 (2008). Plaintiffs “must
 17     plead facts that show actual, direct reliance on a particular alleged misstatement or
 18     omission . . . [and] allege the details of their securities transactions.” Centaur
 19     Classic Convertible Arbitrage Fund Ltd. V. Countrywide Financial Corp., 878 F.
 20     Supp. 2d 1009, 1020 (C.D. Cal. 2011). Alternative to pleading reliance, Plaintiffs
 21     may also allege that they are entitled to a presumption of reliance. Desai v.
 22     Deutsche Bank Sec. Ltd., 573 F.3d 931, 942 (9th Cir. 2009). The Supreme Court
 23     has recognized two types of reliance presumptions: Affiliated Ute and fraud-on-
 24     the-market. Stoneridge Inv. Partners, LLC v. Scientific-Atlanta, Inc., 552 U.S.
 25     148, 152 (2008).
 26                              i. Plaintiffs may not rely on the Affiliated Ute Presumption
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            Plaintiffs do not plead direct reliance. Instead, they argue presumption of reliance.
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 1             The presumption of reliance recognized in Affiliated Ute Citizens of the
 2      State of Utah v. United States, 406 U.S. 128 (1972), allows a plaintiff to avoid
 3      pleading direct reliance in cases that “primarily allege omissions.” There is a
 4      Circuit split as to whether a plaintiff can rely on a presumption of reliance when
 5      they plead both misrepresentations and omissions. Binder v. Gillespie, 184 F.3d
 6      1059, 1064 (9th Cir. 1999). The Ninth Circuit adopts the approach that the
 7      Affiliated Ute presumption be “confined to cases that primarily allege omissions.”
 8      Id.
 9             In their Opposition, Plaintiffs assert that the FAC “primarily alleges
 10     omissions,” reasoning that ¶¶ 26–68 of the FAC related back to key omissions.3
 11     However, in ¶ 69 of the FAC, Plaintiffs allege that “statements contained in ¶¶ 26 –
 12     68 were materially false and/or misleading . . . .” Specifically, in ¶ 69 of the FAC,
 13     Plaintiffs allege misrepresentations, including “NMC’s debts were significantly
 14     understated and obfuscated,” “NMC’s cash-on-hand figures were overstated,” and
 15     “NMC’s principal shareholders were not accurately reporting or accounting their
 16     interests or stakes in the Company.” The aforementioned statements are
 17     misrepresentations and thus, Plaintiffs do not primarily plead an omissions case.
 18            Therefore, the Court finds that Plaintiffs cannot invoke the Affiliated Ute
 19     presumption because the crux of the pleading is comprised of both
 20     misrepresentations and omissions, and not primarily omissions as required by
 21     Affiliated Ute.
 22                           ii. Fraud-on-the-Market Presumption
 23            The “fraud on the market theory is based on the hypothesis that, in an open
 24     developed securities market, the price of a company’s stock is determined by the
 25     available material information regarding the company and its business; [and]
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          The title of the section that begins with paragraph 26 is “Materially False and Misleading
 28     Statements Issued During the Class Period,” which further indicates that this section does not
        primarily allege omissions.
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 1      [m]isleading statements will therefore defraud purchasers even if purchasers do
 2      not directly rely on the misstatements.” Basic Inc. v. Levinson, 485 U.S. 224, 241-
 3      42 (1988). Fraud on the market requires allegations that: (i) the
 4      misrepresentations were publicly known and material, (ii) the security was traded
 5      in an efficient market, and (iii) the plaintiffs traded the stock between the time the
 6      misrepresentations were made and when the truth was revealed. Halliburton Co.
 7      v. Erica P. John Fund, Inc., 573 U.S. 258, 268 (2014).
 8            Defendants argue Plaintiffs FAC does not allege sufficient facts pursuant to
 9      Rule 12(b)(6) and the PSLRA. In their Opposition, Plaintiffs cite to In re USA
 10     Talks.com Sec. Litig., No. 99-CV-0162-L(JA), 2000 WL 1887516, at * 6 (S.D. Cal.
 11     Sept. 14, 2000) to argue that the PSLRA does not require a heightened pleading
 12     standard for fraud-on-the-market theory allegations. However, courts in this
 13     district apply “Rule 9(b) standards to the pleading of reliance under a fraud-on-
 14     the-market theory.” ScripsAmerica, Inc. v. Ironridge Global LLC, 119 F. Supp. 3d
 15     1213, 1252–53 (C.D. Cal. Aug. 11, 2015).
 16                                   a. The misrepresentations were publicly known and
 17                                   material.
 18           Plaintiffs do plead an actionable material misrepresentation or omission.
 19     (FAC ¶¶ 5–8). The misrepresentations were public because they were made in
 20     NMC’s annual reports, a public report. Thus, the first element of the fraud on the
 21     market theory is satisfied.
 22                                   b. Allegations are not sufficient to support that the
 23                                   security was traded in an efficient market.
 24           To determine efficiency in a particular market, the Binder court addressed
 25     five factors/characteristics of a company and its stock: (1) “whether the stock
 26     trades at a high weekly volume;” (2) “whether securities analysts follow and
 27     report on the stock;” (3) “whether the stock has market makers and arbitrageurs;”
 28     (4) “whether the company is eligible to file SEC registration form S-3, as opposed

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 1      to form S-1 or S-2;” (5) “whether there are empirical facts showing a cause and
 2      effect relationship between unexpected corporate events or financial releases and
 3      an immediate response in the stock price.” Binder, 184 F.3d at 1065 (quoting
 4      Cammer v. Bloom, 711 F. Supp. 1264, 1286–87 (D. N.J. 1989)). In ScripsAmerica,
 5      the court noted that “a cause and effect relationship between unexpected corporate
 6      events or financial releases and an immediate response in the stock price . . . is the
 7      essence of an efficient market and the foundation for the fraud on the market
 8      theory.” ScripsAmerica, Inc., 119 F.Supp.3d at 1256 (quoting Cammer, 711 F.
 9      Supp. at 1287).
 10           First, Plaintiffs allege that “NMC’s securities were liquid and traded with
 11     sufficient volume during the Class Period.” (FAC ¶ 102). However, the Plaintiffs
 12     have failed to plead facts to support sufficient volume was traded with
 13     particularity. Next, Plaintiffs allege that “NMC was followed by a number of
 14     securities analysts employed by major brokerage firms who wrote reports that
 15     were widely distributed and publicly available.” Id. Thus, the Court finds
 16     Plaintiffs have sufficiently plead analyst reporting. Third, Plaintiffs do not allege
 17     any facts regarding market makers or arbitrageurs.     Next, Plaintiffs do not allege
 18     any facts regarding SEC Form S-3. Therefore, the Court finds that the Plaintiffs
 19     have not sufficiently plead whether the company is eligible to file SEC registration
 20     form S-3. Lastly, Plaintiffs allege “empirical facts showing a cause and effect
 21     relationship between unexpected corporate events or financial releases and an
 22     immediate response in the stock price.” (FAC ¶¶ 79–95). Based on the allegations
 23     in paragraphs 79–95 of the first amended complaint, there exists a cause and effect
 24     relationship between NMC’s corporate events or financial releases and the
 25     movement of its stock price.
 26           The Court finds Plaintiff does not allege sufficient facts to support an
 27     efficient market.
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 1                                 c. Plaintiffs alleged sufficient facts that Plaintiffs
 2                                 traded between the time the misrepresentations were
 3                                 made and the “truth” was revealed.
 4            Plaintiffs have alleged facts that they traded NMC ADSs between the time
 5      the alleged misrepresentations were made, and the truth began to emerge. The
 6      truth began to emerge on December 17, 2019. (FAC ¶ 70). Plaintiff Hashem
 7      purchased shares of NMC on January 1, 2020. (Dkt. 11-2). Plaintiff Huang
 8      purchased shares of NMC on December 30, 2019. Id. Plaintiff Ahad purchased
 9      shares of NMC on March 05, 2020. Id. Defendant argues this element is not met
 10     because all three Plaintiffs purchased NMC ADSs after the release of the Muddy
 11     Waters Report on December 17, 2019. However, on March 10, 2020, the
 12     Financial Times published an article titled “NMC Health Discovers Almost $3bn
 13     of Debt Hidden from Its Board,” and thus this public disclosure occurred after all
 14     three Plaintiffs had purchased NMC ADSs. Therefore, the Court finds that
 15     Plaintiffs alleged sufficient facts to support that Plaintiffs did trade between the
 16     time the misrepresentations were made and the “truth” was revealed.
 17           Accordingly, the Court finds that Plaintiffs failed to allege facts to support
 18     reliance or presumption of reliance.
 19           3. Second Cause of Action: Violations of §20(a) of The Exchange Act
 20           The pleading requirements for both Section 10(b) and Section 20(a)
 21     violations are the same. Shurkin v. Golden State Vintners Inc., 471 F. Supp. 2d
 22     998, 1027 (N.D. Cal. 2006). Because Plaintiff’s Section 20(a) claim based on an
 23     underlying violation of Section 10(b), and Plaintiffs failed to allege reliance, the
 24     Court finds that Plaintiff’s Section 20(a) cannot survive a motion to dismiss.
 25                                     V. CONCLUSION
 26           Accordingly, the Court GRANTS Defendants’ motion to dismiss with leave
 27     to amend. If Plaintiffs choose to file a second amended complaint, said complaint
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  1     must be filed no later than November 30, 2021. Failure to file an amended
  2     complaint will result in this case being dismissed with prejudice.
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  5           IT IS SO ORDERED.
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  7     DATED: November 1, 2021
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  9                                            CONSUELO B. MARSHALL
                                               UNITED STATES DISTRICT JUDGE
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